           Case 1:17-cv-00842-CRC Document 32 Filed 04/16/18 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    THE PROTECT DEMOCRACY
    PROJECT, INC.,

                         Plaintiff,

          v.                                            No. 17-cv-0842-CRC

    U.S. DEPARTMENT OF DEFENSE, et al.,

                         Defendants.


                        DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                          NOTICE OF RECENT DEVELOPMENTS

         Plaintiff’s Notice of Recent Developments (“Notice”) requests that, in considering the

parties’ pending cross-motions for summary judgement, the Court take account of the President’s

recent statement that he would “be making some major decisions over the next 24 to 48 hours”

with respect to Syria’s April 7, 2018 chemical weapons attack in the town of Douma.1 Pl.’s

Notice at 3 (quoting the President’s remarks made at an April 9, 2018 cabinet meeting), ECF No.

31. From this statement, Plaintiff speculates that the legal advice contained in the classified legal

memorandum at issue in this litigation constitutes “working law” and, as such, is not properly

withheld under Freedom of Information Act (“FOIA”) Exemption 5 and the deliberative process




1
  On April 13, 2018, the President announced that, in concert with military forces from the
United Kingdom and France, he ordered U.S. military forces to launch precision strikes on
targets associated with Syrian chemical weapons capabilities. See Joined by Allies, President
Trump Takes Action to End Syria’s Chemical Weapons Attacks (Apr. 14, 2018),
https://www.whitehouse.gov/articles/joined-allies-president-trump-takes-action-end-syrias-
chemical-weapons-attacks/.

                                                 1
          Case 1:17-cv-00842-CRC Document 32 Filed 04/16/18 Page 2 of 4



privilege.2 Id. at 1. Far from providing facts “relevant to [the Court’s] consideration,” id., the

Notice only further demonstrates Plaintiff’s misapplication of the “working law” doctrine.

       As explained in Defendants’ reply and opposition, the D.C. Circuit has held that the

working law doctrine does not cover “legal memoranda that concern the advisability of a

particular policy, but do not authoritatively state or determine the agency’s policy.” Elec.

Frontier Found. (“EFF”) v. DOJ, 739 F.3d 1, 8 (D.C. Cir. 2014). Indeed, “‘there can be no

doubt that such legal advice, given in the form of intra-agency memoranda prior to any agency

decision on the issues involved, fits exactly within the deliberative process rationale for

Exemption 5.’” Id. at 8-9; see also Defs.’ Reply In Support of Mot. for Summ. J. & Opp’n to

Pl.’s Cross-Mot. for Summ. J. (“Reply”) at 13-17, ECF No. 28. Here, the classified legal

memorandum squarely falls within the deliberative process privilege and outside the working

law doctrine. Despite Plaintiff’s attempts to characterize it as a controlling “legal justification,”

Pl.’s Notice at 1, the classified legal memorandum contains pre-decisional legal advice prepared

by inter-agency attorneys for the consideration of the President’s national security advisers in

advising the President whether to authorize a particular contemplated military action. See Defs.’

Mot. for Summ. J. at 21-22, ECF No. 24-1. It is not an authoritative policy statement governing

the President’s ability to authorize military action. See EFF, 739 F.3d at 9.

       Plaintiff emphasizes that the President was then considering “potential repeat military

action against Syria” and surmises that the “legal justification . . . appears to be the same as that

set forth” in the classified legal memorandum. Pl.’s Notice at 2. It is immaterial, however,


2
 Defendants withheld the classified legal memorandum in its entirety under Exemption 5
pursuant to not only the deliberative process privilege, but also the presidential communications
and attorney-client privileges. See Vaughn Index (Docs. 1-3), ECF No. 24-7. Additionally,
Defendants asserted Exemptions 1 and 3 to protect certain information in the classified legal
memorandum that is currently and properly classified at the SECRET and TOP SECRET levels.
Id.

                                                  2
         Case 1:17-cv-00842-CRC Document 32 Filed 04/16/18 Page 3 of 4



whether the President has received advice in the past on the legal bases for his authority to order

potential military action, even in response to a similar use of chemical weapons by Syria in April

2017, or whether he may receive similar or even the same advice again in the future from the

Attorney General or any other Executive Branch attorney. See EFF, 739 F.3d at 8 (analyzing

whether an OLC opinion concerning the permissibility of FBI investigative tactics constituted

the “working law” of the FBI based on whether OLC was “authorized to make decisions about

the FBI’s investigative policy,” and holding OLC had no such authority). As Defendants have

already explained, merely taking an action consistent with received legal advice does not

constitute adoption of that legal advice, nor does it convert that legal advice into working law.

See Reply at 16-17. Regardless of the frequency in which the issue arises, the classified legal

memorandum conveyed only advice and recommendations and did not “determine[] policy or

appl[y] established policy.” Id. at 9. Nor does the President’s brief statement that he would

“mak[e] some major decisions” regarding Syria’s most recent chemical weapons attack

demonstrate that he has adopted the advice provided in the classified legal memorandum. See id.

at 8 (holding that advice offered for the consideration of agency decision-makers “is not the law

of an agency unless the agency adopts it”).

       Accordingly, for these reasons and the reasons explained in their briefs, the Court should

grant Defendants’ Motion for Summary Judgment.




                                                 3
         Case 1:17-cv-00842-CRC Document 32 Filed 04/16/18 Page 4 of 4



Dated: April 16, 2018               Respectfully submitted,

                                    CHAD A. READLER
                                    Acting Assistant Attorney General

                                    CHANNING D. PHILLIPS
                                    United States Attorney

                                    ELIZABETH J. SHAPIRO
                                    Deputy Branch Director
                                    Federal Programs Branch

                                    /s/ Kathryn C. Davis
                                    KATHRYN C. DAVIS (DC Bar No. 985055)
                                    Trial Attorney
                                    United States Department of Justice
                                    Civil Division, Federal Programs Branch
                                    20 Massachusetts Avenue, NW, Room 6130
                                    Washington, DC 20530
                                    Tel: (202) 616-8298
                                    Fax: (202) 616-8460
                                    Email: Kathryn.C.Davis@usdoj.gov
                                    Attorneys for Defendants




                                       4
